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                                                                                         APPEAL
                                   U.S. District Court
                        District of Columbia (Washington, DC)
                   CIVIL DOCKET FOR CASE #: 1:18−gj−00034−BAH

IN RE: GRAND JURY INVESTIGATION                         Date Filed: 06/13/2018
Assigned to: Chief Judge Beryl A. Howell                Nature of Suit: 890 Other Statutory
Cause: Civil Miscellaneous Case                         Actions
                                                        Jurisdiction: U.S. Government Plaintiff
In Re
GRAND JURY INVESTIGATION

Interested Party
UNITED STATES OF AMERICA                   represented by Aaron Simcha Jon Zelinsky
                                                          DEPARTMENT OF JUSTICE
                                                          Special Counsel's Office
                                                          950 Pennsylvania Avenue
                                                          Washington, DC 20004
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Date Filed   #   Page Docket Text
06/14/2018            MINUTE ORDER (paperless) ISSUING, upon consideration of the
                      government's 1 Motion to Compel and for Order to Show Cause, the following
                      SCHEDULING ORDER to control further proceedings: (1) by 5 p.m. on
                      Thursday, June 14, 2018, Andrew Miller shall file any response to the
                      government's motion; (2) by 12 p.m. on Friday, June 15, 2018, the government
                      shall file any reply; (3) at 2 p.m. on Monday, June 18, 2018, the parties shall
                      appear before Chief Judge Beryl A. Howell for a hearing on the government's
                      motion. The government is DIRECTED to provide opposing counsel with a
                      copy of this Order. Signed by Chief Judge Beryl A. Howell on June 13,
                      2018.(lcbah1) (Entered: 06/14/2018)
06/14/2018            MINUTE ORDER (paperless) MODIFYING the scheduling order as follows:
                      by 5 p.m. today, Thursday, June 14, 2018, Andrew Miller shall file any response
                      to the government's 1 motion either (1) through the Clerk's Office or (2) to
                      Howell_Chambers@dcd.uscourts.gov, and then through the Clerk's Office by
                      9:30 a.m. on Friday, June 15, 2018. Should Mr. Miller submit his response via
                      email, he shall simultaneously provide the government a copy. The scheduling
                      order otherwise remains unchanged. Signed by Chief Judge Beryl A. Howell on
                      June 14, 2018. (lcbah1) (Entered: 06/14/2018)
06/18/2018            MINUTE ORDER (paperless) GRANTING the witness's 6 Motion for
                      Admission Pro Hac Vice. Ms. Alicia Dearn may enter an appearance pro hac
                      vice for the purpose of representing the witness in this action. Signed by Chief
                      Judge Beryl A. Howell on June 18, 2018. Counsel have NOT been notified.
                      (lcbah4) (Entered: 06/18/2018)
06/18/2018            Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion
                      Hearing held on 6/18/2018. Order forthcoming. (Court Reporter Elizabeth
                      Saint−Loth.) (ztg) (Entered: 06/18/2018)
06/18/2018            MINUTE ORDER (paperless) GRANTING, upon consideration of the parties'
                      filings, the hearing held on June 18, 2018, and the entire record herein, the
                      government's 1 Motion to Compel and for Order to Show Cause Why the
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                   Witness Should Not Be Held in Contempt for Failure to Appear before the
                   Grand Jury as Required by Subpoena and 2 Supplemental Motion to Compel
                   and for Order to Show Cause, and DENYING AS MOOT the witness's 4 Motion
                   to Quash, or, in the Alternative, Modify Grand Jury Subpoenas, in light of the
                   government's agreement in its 3 Reply Motion to Compel ("Gov't Reply") to
                   "limit the subpoena for documents to the search terms proposed by" the witness.
                   Gov't Reply at 1. Accordingly, the witness is DIRECTED to appear before the
                   grand jury on June 29, 2018, unless the parties notify the Court of an alternate
                   arrangement. The witness is further DIRECTED, by 12:00 p.m. on June 25,
                   2018, to perform the searches as agreed to by the parties on the record and in
                   their filings and produce the results of those searches to the government. Signed
                   by Chief Judge Beryl A. Howell on June 18, 2018. Counsel have NOT been
                   notified. (lcbah4) (Entered: 06/18/2018)
06/28/2018   10    MOTION to Quash THE GRAND JURY SUBPOENAS, MOTION to Stay
                   COURTS JUNE 18, 2018, MINUTE ORDER, MOTION RELIEVE HIM
                   FROM ANY FURTHER DUTY TO PRODUCE ADDITIONAL
                   DOCUMENTS COVERED BY THE SUBPOENAS by ANDREW MILLER
                   (Attachments: # 1 Text of Proposed Order, # 2 Text of Proposed Order)(zrdj)
                   (Entered: 06/28/2018)
06/28/2018         MINUTE ORDER (paperless) DIRECTING, upon consideration of the witness's
                   10 Motion to Quash, the parties to confer and, by 5 PM today, June 28, 2018,
                   propose a schedule to control further proceedings in this matter. Signed by Chief
                   Judge Beryl A. Howell on June 28, 2018. (lcbah1) (Entered: 06/28/2018)
06/28/2018         MINUTE ORDER (paperless) DIRECTING the parties to appear, at 10:15 a.m.
                   on Friday, June 29, 2018, before Chief Judge Beryl A. Howell in Courtroom 22.
                   Signed by Chief Judge Beryl A. Howell on June 28, 2019. (lcbah1) (Entered:
                   06/28/2018)
06/29/2018   11    STATUS REPORT by UNITED STATES OF AMERICA. (zrdj) (Entered:
                   06/29/2018)
06/29/2018         MINUTE ORDER (paperless) ISSUING, upon consideration of the
                   government's 11 Status Report, the following scheduling order to govern further
                   proceedings in this matter: (1) by July 10, 2018, the government shall file any
                   opposition to the witness's 10 Motion to Quash; (2) by July 16, 2018, the witness
                   shall file any reply to the government's opposition; (3) at 9:30 AM on July 18,
                   2018, the parties shall appear before Chief Judge Howell in Courtroom 22.
                   Signed by Chief Judge Beryl A. Howell on June 29, 2018. (lcbah1) Modified on
                   6/29/2018 (tg). (Entered: 06/29/2018)
06/29/2018         Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status
                   Conference held on 6/29/2018. (Court Reporter Elizabeth Saint−Loth.) (ztg)
                   (Entered: 07/02/2018)
07/02/2018   13    MOTION FOR PERMISSION TO OBTAIN THE TRANSCRIPT OF THE
                   SEALED HEARING ON JUNE 29, 2018 by UNITED STATES OF AMERICA
                   (Attachments: # 1 Text of Proposed Order)(zrdj) (Entered: 07/02/2018)
07/02/2018   15    ORDER granting 13 Motion FOR PERMISSION TO OBTAIN THE
                   TRANSCRIPT OF THE SEALED HEARING ON JUNE 29, 2018. Signed by
                   Chief Judge Beryl A. Howell on 7/2/2018. Copy(s) made available to counsel of
                   record.(zrdj) (Entered: 07/02/2018)
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07/06/2018   16      SEALED CORRECTED TRANSCRIPT OF PROCEEDINGS before Chief
                     Judge Beryl A. Howell held on 6/18/2018; Page Numbers: 1−15. Court
                     Reporter/Transcriber Elizabeth Saint−Loth. (zrdj) (Entered: 07/09/2018)
07/06/2018   17      SEALED TRANSCRIPT OF PROCEEDINGS before Chief Judge Beryl A.
                     Howell held on 6/29/2018; Page Numbers: 1−19. Court Reporter/Transcriber
                     Elizabeth Saint−Loth. (zrdj) (Entered: 07/09/2018)
07/17/2018   19      REPLY to opposition to motion re 10 MOTION to Quash MOTION to Stay
                     MOTION RELIEVE HIM FROM ANY FURTHER DUTY TO PRODUCE
                     ADDITIONAL filed by ANDREW MILLER. (zrdj) (Entered: 07/18/2018)
07/18/2018           Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status
                     Hearing held on 7/18/2018. (Court Reporter Lisa Moreira.) (ztg) (Entered:
                     07/18/2018)
07/19/2018   20      Post−Hearing Submission by ANDREW MILLER (zrdj) (Entered: 07/19/2018)
07/19/2018   21      Letter to the Court from Aaron S. J. Zelinsky from Aaron S. J. Zelinsky (zrdj)
                     (Entered: 07/19/2018)
07/31/2018   22   8 ORDER denying the witness's 10 Motion to Quash. See Order for further
                    details. Signed by Chief Judge Beryl A. Howell on July 31, 2018. (lcbah1)
                    (Entered: 07/31/2018)
08/01/2018   24      MOTION Public Release of Opinion with Redactions by UNITED STATES OF
                     AMERICA (Attachments: # 1 Att A, # 2 Att B, # 3 Text of Proposed
                     Order)(zrdj) (Entered: 08/02/2018)
08/02/2018   25      Amended MOTION for Public Release of Opinion with Redactions by UNITED
                     STATES OF AMERICA (Attachments: # 1 Text of Proposed Order)(zrdj)
                     (Entered: 08/02/2018)
08/02/2018   26   9 MEMORANDUM AND ORDER granting the government's 24 Motion for
                    Public Release of Opinion with Redactions and 25 Amended Motion for Public
                    Release of Opinion with Redactions. See Order for further details. Signed by
                    Chief Judge Beryl A. Howell on August 2, 2018. Certified copy(s) made
                    available to counsel of record. (lcbah4) (Entered: 08/02/2018)
08/08/2018   30      JOINT RECOMMENDATION OF UNSEALING WITH REDACTIONS (zrdj)
                     (Entered: 08/08/2018)
08/08/2018           MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties'
                     30 Joint Recommendation of Unsealing With Redactions, the parties, by 5 PM
                     today, August 8, 2018, to notify the Court of their recommendation as to
                     whether their Joint Recommendation, as well as their response to this Minute
                     Order, should be unsealed. Signed by Chief Judge Beryl A. Howell on August 8,
                     2018.(lcbah1) (Entered: 08/08/2018)
08/08/2018   31      JOINT RECOMMENDATION OF UNSEALING REGARDING ECF 30 by
                     UNITED STATES OF AMERICA (zrdj) (Entered: 08/08/2018)
08/08/2018   32      ORDER regarding the parties' 30 and 31 Joint Recommendations of Unsealing.
                     See Order for further details. Signed by Chief Judge Beryl A. Howell on August
                     8, 2018.(zrdj) (Entered: 08/08/2018)
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                     ***Case Unsealed pursuant to 32 Order, Signed by Chief Judge Beryl A.
                     Howell on August 8, 2018 (zrdj) (Entered: 08/08/2018)
08/09/2018   33      SEALED MOTION filed by ANDREW MILLER. (This document is SEALED
                     and only available to authorized persons.) (Attachments: # 1 Text of Proposed
                     Order)(zrdj) (Entered: 08/09/2018)
08/10/2018   34      SEALED DOCUMENT filed by UNITED STATES OF AMERICA. (This
                     document is SEALED and only available to authorized persons.)(zrdj) (Entered:
                     08/10/2018)
08/10/2018   35      SEALED Response filed by UNITED STATES OF AMERICA re 33 SEALED
                     MOTION filed by ANDREW MILLER. (This document is SEALED and only
                     available to authorized persons.) (zrdj) (Entered: 08/10/2018)
08/10/2018   36      CONTEMPT ORDER. Signed by Chief Judge Beryl A. Howell on 8/10/2018.
                     (This document is SEALED and only available to authorized persons.) (ztg)
                     Modified on 8/13/2018 (ztg). (Entered: 08/10/2018)
08/13/2018   37      SEALED REPLY TO OPPOSITION filed by ANDREW MILLER re 33
                     SEALED MOTION filed by ANDREW MILLER. (This document is SEALED
                     and only available to authorized persons.) (This document is SEALED and only
                     available to authorized persons.)(Kamenar, Paul) (Entered: 08/13/2018)
08/13/2018   38      SEALED MOTION filed by UNITED STATES OF AMERICA. (This
                     document is SEALED and only available to authorized persons.) (Attachments:
                     # 1 Text of Proposed Order)(zrdj) (Entered: 08/13/2018)
08/13/2018   39   6 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 26 Order on Motion for
                    Miscellaneous Relief, 22 Order on Motion to Quash, Order on Motion to Stay,
                    Order on Motion for Miscellaneous Relief and 36 CONTEMPT ORDER Signed
                    by Chief Judge Beryl A. Howell on 8/10/2018 by ANDREW MILLER. Filing
                    fee $ 505, receipt number 0090−5635918. Fee Status: Fee Paid. Parties have
                    been notified. (Kamenar, Paul) Modified on 8/13/2018 to add linkage and to
                    indicate that this notice of appeal is not under seal.(ztnr) (Entered: 08/13/2018)
08/13/2018   40      SEALED ORDER re 38 SEALED MOTION filed by UNITED STATES OF
                     AMERICA. (This document is SEALED and only available to authorized
                     persons.) by Chief Judge Beryl A. Howell on 8/13/2018.(zrdj) (Entered:
                     08/13/2018)
08/14/2018           Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion),
                     and Docket Sheet to US Court of Appeals in paper format. The Court of Appeals
                     fee was paid this date re 39 Notice of Appeal to DC Circuit Court. (jf) (Entered:
                     08/14/2018)




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



IN THE MATTER OF                                  UNDER SEAL
GRAND JURY INVESTIGATION
                                                  No. 18-GJ-34 (BAH)




                       NOTICE OF APPEAL OF ANDREW MILLER

       Pursuant to Rules 3 and 4 of the Federal Rules of Appellate Procedure, Andrew Miller,

through his undersigned attorney, hereby files this Notice of Appeal to the United States Court of

Appeals for the District of Columbia Circuit of the Order of Civil Contempt issued by Chief

Judge Beryl A. Howell of the U.S. District Court for the District of Columbia on August 10,

2018, holding Mr. Miller in civil contempt of court for failing to appear and testify before the

Grand Jury on August 10, 2018. ECF No. 36. A corrected order was issued and docketed on

August 13, 2018. ECF No. 38.

       Mr. Miller also appeals and seeks review of the District Court’s Order and Memorandum

Opinion issued under seal on July 31, 2018, dismissing his Motion To Quash (ECF No. 22)

which was subsequently unsealed with redactions on August 2, 2018 (ECF No. 26).



                                                     Respectfully submitted,


                                                     /s/ Paul D. Kamenar




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                                        Counsel for Andrew Miller

Date: August 13, 2018




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 In re GRAND JURY INVESTIGATION
                   .                                      Grand Jury Action No. 18-34 (BAH)

                                                          Chief Judge Beryl A. Howell

                                                          FILED UNDER SEAL



                                             ORDER

       Upon consideration of the witness, Andrew Miller’s, Second Motion to Quash Subpoena,

ECF No. 10, the related legal memoranda in support and opposition to this motion, the exhibits

attached thereto, the arguments presented at the hearing held on July 18, 2018, and the entire

record herein, for the reasons set out in the accompanying Memorandum Opinion, it is hereby

       ORDERED that the witness’s Second Motion to Quash is DENIED; and it is further

       ORDERED that Andrew Miller is directed, pursuant to the grand jury subpoenas served

by the Special Counsel, to appear before the grand jury to provide testimony at the earliest date

available to the grand jury, and to complete production of the subpoenaed records promptly.

       SO ORDERED.

       Date: July 31, 2018

                                                     __________________________
                                                     BERYL A. HOWELL
                                                     Chief Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      Grand Jury Action No. 18-34 (BAH)
 In re GRAND JURY INVESTIGATION
                                                      Chief Judge Beryl A. Howell




                                MEMORANDUM AND ORDER

       Pending before the Court is the Special Counsel’s Motion for Public Release of Opinion

with Redactions (“Gov’t’s Mot.”), ECF No. 24, and Amended Motion for Public Release of

Opinion with Redactions (“Gov’t’s Am. Mot.”), ECF No. 25, requesting the unsealing of this

Court’s July 31, 2018, Memorandum Opinion (“Mem. Op.”), ECF No. 23, denying a grand jury

witness’s motion to quash grand jury subpoenas. Since this Memorandum Opinion concerns a

grand jury matter, that decision, as well as “all other papers filed in support of or in opposition

to” the motion to quash the grand jury subpoenas, were filed under seal, as required under Local

Criminal Rule 6.1 and Federal Rule of Criminal Procedure 6(e). As directed by the Court, the

Special Counsel conferred with counsel for the witness regarding the pending motions to unseal,

and has represented that the witness consents to these motions but requests additional redactions

beyond those redactions proposed by the Special Counsel. See Gov’t’s Am. Mot. ¶ 4. Upon

review of the Special Counsel’s motions and the entire record herein, the Special Counsel’s

motions are granted.

       The Special Counsel first served the witness with grand jury subpoenas to produce

documents and appear before the grand jury on May 10, 2018. See Mem. Op. at 19. On June 28,

2018, after several disagreements and adjournments and one motion to compel, the witness filed


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a motion to quash the two pending grand jury subpoenas with which he had been served. Id. at

22. After receiving briefing on the witness’s motion and hearing oral argument, the Court denied

the witness’s motion in all respects on July 31, 2018. Id. at 92. The Special Counsel now seeks

“public release of the Court’s July 31, 2018 Memorandum Opinion in this matter with

redactions,” Gov’t’s Am. Mot. at 1, of “footnotes 6–8, on pages 19–20 and 22, which identify the

witness and the witness’s attorneys,” id. ¶ 3.

       Federal Rule of Criminal Procedure 6(e) prohibits the disclosure of “matter[s] occurring

before the grand jury” and requires that “[r]ecords, orders, and subpoenas relating to grand-jury

proceedings [ ] be kept under seal to the extent and as long as necessary to prevent the unauthorized

disclosure of a matter occurring before a grand jury.” F ED. R. CRIM. P. 6(e)(2)(B), (e)(6).

Nevertheless, grand jury material may be disclosed under various exceptions listed in Rule 6(e),

which provides that a “court may authorize disclosure,” “at a time, in a manner, and subject to

any other conditions that it directs,” of grand jury material “preliminarily to or in connection

with a judicial proceeding,” among other circumstances. F ED. R. CRIM. P. 6(e)(3)(E)(i).

       Further, as this Court and numerous other courts have recognized, “a district court retains

an inherent authority to unseal and disclose grand jury material not otherwise falling within the

enumerated exceptions to Rule 6(e).” In re App. to Unseal Dockets Related to Indep. Counsel’s

1998 Investigation of President Clinton (“In re App. to Unseal”), 308 F. Supp. 3d 314, 323

(D.D.C. 2018) (Howell, C.J.) (collecting cases); see also Carlson v. United States, 837 F.3d 753,

763 (7th Cir. 2016) (“Rule 6(e) is ‘but declaratory’ of the long-standing ‘principle’ that

‘disclosure’ of grand jury materials is ‘committed to the discretion of the trial court.’” (quoting

Pittsburgh Plate Glass Co. v. United States, 360 U.S. 395, 399 (1959))); In re Craig, 131 F.3d

99, 103 (2d Cir. 1997) (“[P]ermitting departures from Rule 6(e) is fully consonant with the role




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of the supervising court and will not unravel the foundations of secrecy upon which the grand

jury is premised.”); In re Petition to Inspect & Copy Grand Jury Materials, 735 F.2d 1261, 1268

(11th Cir. 1984) (“[I]t is certain that a court’s power to order disclosure of grand jury records is

not strictly confined to instances spelled out in [Rule 6(e)].”). The Court’s inherent authority to

unseal grand jury matter is reflected in Local Criminal Rule 6.1, which expressly provides that

“[p]apers, orders and transcripts of hearings subject to this Rule, or portions thereof, may be made

public by the Court on its own motion or on motion of any person upon a finding that continued

secrecy is not necessary to prevent disclosure of matters occurring before the grand jury.” LCrR

6.1. While the “D.C. Circuit has not specifically addressed the question of whether courts have

inherent authority to order the release of grand jury records in circumstances not enumerated by

Rule 6(e),” In re Petition of Kutler, 800 F. Supp. 2d 42, 47 (D.D.C. 2011), the D.C. Circuit has

affirmed the district court’s exercise of this inherent disclosure authority, see Haldeman v. Sirica,

501 F.2d 714, 715 (D.C. Cir. 1974) (indicating “general agreement” with the district court’s

exercise of inherent authority to disclose grand jury material). 1

         The D.C. Circuit has yet to provide guidance to district courts exercising their inherent

authority to disclose grand jury materials outside of Rule 6(e). 2 Judges on this Court have

therefore turned to a “non-exhaustive list of factors that a court may consider when making such

an assessment,” Kutler, 800 F. Supp. 2d at 47, outlined by the Second Circuit in Craig, which is

not cited by the Special Counsel. See also In re App. to Unseal, 308 F. Supp. 3d at 326. These

factors include:


1
          This question is currently pending before the D.C. Circuit. See McKeever v. Sessions, No. 17-5149 (D.C.
Cir. filed June 26, 2017); In re App. to Unseal Dockets, No. 18-5142 (D.C. Cir. filed May 18, 2018).
2
          The D.C. Circuit has stated, in dicta, that “even if there were once a common law right of access to [grand
jury] materials . . . , the common law has been supplanted by Rule 6(e)(5) and Rule 6(e)(6) of the Federal Rules of
Criminal Procedure.” In re Motions of Dow Jones & Co., 142 F.3d 496, 504 (D.C. Cir. 1998). The Circuit has not
explained, however, how a district court should proceed when confronted by a situation in which the enumerated
exceptions in Rule 6(e) do not apply.


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        (i) the identity of the party seeking disclosure; (ii) whether the defendant to the grand jury
        proceeding or the government opposes the disclosure; (iii) why disclosure is being sought
        in the particular case; (iv) what specific information is being sought for disclosure;
        (v) how long ago the grand jury proceedings took place; (vi) the current status of the
        principals of the grand jury proceedings and that of their families; (vii) the extent to
        which the desired material—either permissibly or impermissibly—has been previously
        made public; (viii) whether witnesses to the grand jury proceedings who might be
        affected by disclosure are still alive; and (ix) the additional need for maintaining secrecy
        in the particular case in question.

Kutler, 800 F. Supp. 2d at 47–48 (quoting Craig, 131 F.3d at 106). 3

        In this case, none of the circumstances enumerated in Rule 6(e)(3) appears to be

applicable. The Special Counsel contends that disclosure is permissible under Rule 6(e)(3)(E),

Gov’t’s Mot. ¶ 2, which permits the Court to “authorize disclosure—at a time, in a manner, and

subject to any other conditions that it directs—of a grand-jury matter . . . preliminarily to or in

connection with a judicial proceeding.” FED. R. CRIM. P. 6(e)(3)(E)(i). The D.C. Circuit has

stated that a petitioner seeking disclosure under this provision must show that “(1) ‘material

[sought] is needed to avoid a possible injustice in another judicial proceeding’; (2) ‘the need for

disclosure is greater than the need for continued secrecy’; and (3) ‘the request is structured to

cover only material so needed.’” In re Sealed Case, 801 F.2d 1379, 1381 (D.C. Cir. 1986)

(Scalia, J.) (alteration in original) (quoting United States v. Sells Eng’g, Inc., 463 U.S. 418, 443

(1983)). The Special Counsel does not cite In re Sealed Case or discuss these requirements. In

particular, the Special Counsel has not established that disclosure of the Memorandum Opinion

“is needed to avoid a possible injustice in another judicial proceeding,” id. (emphasis added;

internal quotation marks omitted), and has not explained the injustice that would be prevented by

the disclosure. Certainly, the Court is aware that substantially similar legal issues have been

raised in a pending Motion to Dismiss an Indictment in United States v. Internet Research


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         These factors substantially overlap with those identified in United States v. Hubbard, 650 F.2d 293, 317–22
(D.C. Cir. 1980), but are framed to target more specifically the grand jury context.


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Agency, LLC, No. 18-cr-32 (DLF) (D.D.C. filed Feb. 16, 2018), since the witness in this matter

incorporated and relied heavily on the briefing in that case. Yet, the Special Counsel does not

identify that criminal case as “another judicial proceeding” in which disclosure of the

Memorandum Opinion is necessary to avoid an injustice, and, in any event, given that the

Memorandum Opinion issued in this matter is not binding authority for the presiding Judge in

that criminal case, the Special Counsel would be hard pressed—had the effort been made, which

it was not—to show how injustice would be avoided absent unsealing. Thus, the Special

Counsel has not shown that disclosure under Rule 6(e) is appropriate.

         Nevertheless, the Craig factors counsel in favor of disclosing the Memorandum Opinion.

Regarding the first and second factors—the identity of the party seeking disclosure and whether

the defendant to the grand jury proceeding or the government opposes the disclosure—the

Special Counsel seeks disclosure with certain factual information redacted, and the witness

largely consents to that disclosure. See Gov’t’s Am. Mot. ¶ 4. 4 The third and fourth factors—

why disclosure is being sought in the particular case and what specific information is being

sought for disclosure—likewise favor disclosure, given that the specific information sought to be

released is a Memorandum Opinion, the “vast majority” of which “addresses purely legal issues

that do not involve or reveal the subject of any grand jury inquiry.” Id. ¶ 2. The Memorandum

Opinion also resolves “novel legal issues that this Court is the first to address” and that are of

“general public interest,” id. ¶ 1 (quoting D.C. Cir. R. 36(c)(2) (explaining that an opinion will


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          The witness consents to disclosure but requests additional redactions beyond those proposed by the Special
Counsel. See Gov’t’s Am. Mot. ¶ 4. Specifically, the witness seeks the redaction of Part I.E of the Memorandum
Opinion, Mem. Op. at 19–23, which discusses the procedural history of the subpoenas and proceedings at issue,
because that information “reveals strategy and direction of the investigation,” Gov’t’s Am. Mot. ¶ 4 (internal
quotation marks and citation omitted). This information is important background information necessary to
understand the discussion in the Memorandum Opinion of the Special Counsel’s timeliness argument. See Mem.
Op. at 24–26. In addition, to the extent that Part I.E reveals that the grand jury requested documents from the
witness, that information alone is not sufficiently probative of the details of the Special Counsel’s investigation or
tactics to warrant the redaction of this section of the Memorandum Opinion.


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be published if “it is a case of first impression or the first case to present the issue in this court”

or if “it warrants publication in light of other factors that give it general public interest,” among

other circumstances)), thus weighing in favor of disclosure. See also EEOC v. Nat’l Children’s

Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (noting that the “presumption in favor of public

access to judicial proceedings” is “especially strong” for judicial opinions) (internal quotation

marks omitted).

        Regarding the fifth and sixth Craig factors—how long ago the grand jury proceedings

took place and the current status of the principals of the grand jury proceedings—the grand jury

investigation, of which this witness is a part, is still ongoing, but the disclosure of the events and

legal issues discussed in the Memorandum Opinion “will not reveal a matter occurring before the

grand jury.” Gov’t’s Am. Mot. ¶ 2. Rather, disclosure “will reveal only the existence of grand

jury proceedings conducted by the Special Counsel pursuant to the investigation assigned to him

by the Acting Attorney General,” id., which investigation has been widely publicized since its

initiation. As to the seventh and eighth Craig factors—the extent to which the material has been

previously made public and whether witnesses who might be affected by disclosure are still

alive—the witness’s counsel has represented that “the name of the witness and [counsel’s]

identities have been publicly released.” Id. ¶ 4 (alteration in original). The witness is therefore

unlikely to be subject to any detrimental impact by further disclosure of the Memorandum

Opinion. In addition, the legal issues resolved in the Memorandum Opinion have been fully and

publicly briefed in a pending criminal matter also arising from the same Special Counsel’s

investigation and are already in the public sphere. See United States v. Internet Research

Agency, LLC, No. 18-cr-32 (DLF) (D.D.C. filed Feb. 16, 2018). Finally, the additional need for

maintaining secrecy in this particular case is low, given that the grand jury investigation at issue




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has been widely publicized and the witness’s and his counsel’s names have already been publicly

released by the witness’s counsel.

        Accordingly, it is hereby

        ORDERED that the Special Counsel’s Motion and Amended Motion are GRANTED;

and it is further

        ORDERED that the July 31, 2018, Memorandum Opinion shall be docketed and released

publicly with the redactions proposed by the Special Counsel; and it is further

        ORDERED that the Special Counsel and the witness review the docket in this sealed

grand jury matter and, after conferring, notify the Court, by August 8, 2018, as to any other

transcript or document currently under seal that they recommend unsealing.

        Date: August 2, 2018



                                                     __________________________
                                                     BERYL A. HOWELL
                                                     Chief Judge




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